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6                           IN THE UNITED STATES DISTRICT COURT
7                                FOR THE DISTRICT OF ARIZONA
8    Shone Dieoute Gholston,                             Case No. CV-18-04901-PHX-SMB (ESW)
9                                Plaintiff,
10                                                       DEFENDANT AUSTIN FIGUEROA’S
     vs.                                                MOTION FOR SUMMARY JUDGMENT
11
     Mesa Police Department, et al.,
12
                                 Defendants.                    (Honorable Eileen S. Willett)
13

14

15          Defendant Officer Austin Figueroa moves for summary judgment.              This Motion is
16   supported by the following Memorandum and Defendant’s LRCiv 56.1 Statement of Facts
17   (“SOF”).
18                                            MEMORANDUM
19                                             Introduction
20          Officer Figueroa is entitled to summary judgment because (1) the force he used was
21   objectively reasonable, and (2) he is entitled to qualified immunity. Plaintiff committed a felony,
22   ignored Officer Figueroa’s verbal instructions, ran from Officer Figueroa, and physically threw
23   Officer Figueroa’s arm off him to prevent being detained. Additionally, Plaintiff reached into his
24   back pocket, a movement that Officer Figueroa knew to be associated with accessing a weapon.
25   Thus, Officer Figueroa deployed his taser a single time to quickly and safely detain Plaintiff. For
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1    these reasons, the force used by Officer Figueroa was objectively reasonable and he is entitled to
2    qualified immunity.
3                                           Statement of Facts
4           On September 8, 2017, Officer Figueroa was driving his marked police vehicle in an alley
5    known to have an increased amount of crime and drug use. [SOF ¶ 1] While driving in the alley,
6    Officer Figueroa saw a man, later identified as Plaintiff, preparing to urinate on a wall. [SOF ¶ 2]
7    When Plaintiff spotted Officer Figueroa, Plaintiff quickly tossed a syringe onto the ground from
8    his pocket. [SOF ¶ 3] Officer Figueroa activated his emergency lights, exited his vehicle, and
9    instructed Plaintiff to stop. [SOF ¶ 5] Plaintiff ignored Officer Figueroa’s verbal instructions and
10   attempted to walk around Officer Figueroa to get away. [SOF ¶ 7] Officer Figueroa reached out
11   to grab Plaintiff’s arm and Plaintiff pulled his arm away and began to run. [SOF ¶ 8]
12          Officer Figueroa pursued Plaintiff on foot. [SOF ¶ 9] When Officer Figueroa caught up
13   to Plaintiff, he grabbed the back of Plaintiff’s shirt. [SOF ¶ 13] Plaintiff then swung his arm
14   around, knocked Officer Figueroa’s arm off and was able to break Officer Figueroa’s grip. [SOF
15   ¶ 14] Plaintiff then reached into his back pocket. [SOF ¶ 15] Officer Figueroa, fearing that
16   Plaintiff was accessing a weapon, tased Plaintiff a single time. [SOF ¶ 16] Plaintiff fell to the
17   ground and Officer Figueroa quickly pulled Plaintiff’s hand out of his back pocket and put
18   Plaintiff in handcuffs. [SOF ¶ 17]
19          Officer Figueroa performed a name search and discovered that Plaintiff had an outstanding
20   warrant for his arrest in Phoenix. [SOF ¶ 19] Officer Figueroa searched Plaintiff and found a
21   used glass pipe and small baggie of a white crystal substance. [SOF ¶ 20] Later, during a
22   Mirandized interview, Plaintiff admitted to Officer Figueroa that the substance found in his pocket
23   was methamphetamine and that he uses the pipe to smoke it. [SOF ¶ 21] A field test confirmed
24   that the substance was methamphetamine. [SOF ¶ 22]
25          Plaintiff was charged with possession of a dangerous drug, two counts of possession of



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1    drug paraphernalia, and resisting arrest. [SOF ¶ 23] Plaintiff pleaded guilty to the felony of
2    possession of a dangerous drug, with a prior felony conviction. [SOF ¶ 24]
3                                                Argument
4    I.     Officer Figueroa’s Actions Were Objectively Reasonable.
5           A claim of excessive force is “properly analyzed under the Fourth Amendment’s ‘objective
6    reasonableness’ standard.” Graham v. Connor, 490 U.S. 386, 388 (1989); Scott v. Harris, 550
7    U.S. 372, 381 (2007). “The ‘reasonableness’ of a particular use of force must be judged from the
8    perspective of a reasonable officer on the scene, rather than with the 20/20 vision of hindsight. . .
9    The calculus of reasonableness must embody allowance for the fact that police officers are often
10   forced to make split-second judgments—in circumstances that are tense, uncertain, and rapidly
11   evolving.” Id. at 396-97. The proper application of the reasonableness test “requires careful
12   attention to the facts and circumstances of each particular case, including the severity of the crime
13   at issue, whether the suspect poses an immediate threat to the safety of the Defendant Officers and
14   others, and whether he is actively resisting arrest or attempting to evade arrest by flight.” Id. at
15   396.
16          Officers are not required to use the least intrusive degree of force possible…whether
17   officers hypothetically could have used less painful, less injurious, or more effective force in
18   executing an arrest is simply not the issue.” Bryan v. MacPherson, 630 F.3d 805, 818 (9th Cir.
19   2010) (internal citations omitted).    Rather, a range of force may be reasonable under the
20   circumstances. Id.
21          Here, Officer Figueroa’s actions were objectively reasonable. Officer Figueroa was
22   patrolling an area that he knew to have an increase in crime and drug use. [SOF ¶ 1] With that
23   backdrop, Officer Figueroa saw Plaintiff preparing to urinate in public and, as soon as Plaintiff
24   spotted Officer Figueroa, Plaintiff tossed a syringe on the ground. [SOF ¶¶ 2-3] To a trained and
25   experienced officer, this was a sign that Plaintiff may have used drugs recently and may be under



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1    the influence. [SOF ¶ 4] Plaintiff then ignored Officer Figueroa’s instruction to stop, pushed past
2    Officer Figueroa, hit Officer Figueroa’s arm off him, and fled. [SOF ¶¶ 7-8, 13-14] This behavior
3    demonstrated Plaintiff’s willingness to do whatever he could to avoid arrest.
4           While fleeing, Plaintiff reached into his back pocket. [SOF ¶ 15] Based on Officer
5    Figueroa’s training, along with Plaintiff’s lack of cooperation and clear intention to avoid arrest,
6    Officer Figueroa concluded that Plaintiff may be accessing a weapon. [SOF ¶ 16] Additionally,
7    Officer Figueroa was the only officer on scene and did not have any backup support. [SOF ¶ 6]
8    Thus, Officer Figueroa deployed his taser a single time. [SOF ¶ 16]
9           Officer Figueroa was able to handcuff Plaintiff within a matter of seconds after deploying
10   the taser. [SOF ¶ 17] The use of the taser under these circumstances was a safe and effective way
11   for Officer Figueroa to quickly subdue and detain Plaintiff without escalating the situation.
12   Sanders v. City of Fresno, 551 F.Supp.2d 1149, 1170-71 (E.D. Cal. 2008) (citing Draper v.
13   Reynolds, 369 F.3d 1270 (11th Cir. 2004) (finding that use of a taser during a tense traffic stop
14   when suspect was not following verbal instructions and was being uncooperative was reasonable
15   and that “the single use of a taser gun may well have prevented a physical struggle and serious
16   harm to either [the suspect] or [the officer].”)
17          Based on these circumstances, utilizing a taser was objectively reasonable. Id. (finding
18   that a single application of a taser during a traffic stop that was a “difficult, tense, and uncertain
19   situation” was reasonable).
20          A.     The Severity Of The Crimes At Issue Weigh In Favor Of Officer Figueroa.
21          In this case, Plaintiff was in an alley that Officer Figueroa knew to have an increase in
22   crime and drug use. [SOF ¶ 1] Plaintiff was clearly about to urinate in public and also threw a
23   syringe out of his pocket. [SOF ¶¶ 2-3] When Plaintiff saw Officer Figueroa, he blatantly
24   disregarded Officer Figueroa’s instruction to stop, pushed past him, and fled, running down the
25   alley towards a populated street. [SOF ¶¶ 7-14] When Officer Figueroa caught up to Plaintiff



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1    again, Plaintiff threw his arm back in order to knock Officer Figueroa’s arm off and break free.
2    [SOF ¶¶ 13-14] Arising out of these events, Plaintiff was charged with possession of a dangerous
3    drug, two counts of possession of drug paraphernalia, and resisting arrest. [SOF ¶ 23] Plaintiff
4    pleaded guilty to the felony of possession of a dangerous drug. [SOF ¶ 24]
5           Given the nature of Plaintiff’s crimes, the first Graham factor weighs in favor of Officer
6    Figueroa. Draper, 369 F.3d at 1278 (the Court found no excessive force in using a taser on an
7    uncooperative, agitated suspect, who has been stopped for a minor traffic infraction and never
8    touched the officer.)
9           B.     Plaintiff Posed An Immediate Threat To The Safety Of Officer Figueroa And
                   Others.
10

11          On the day of his arrest, Plaintiff was an immediate threat to the safety of Officer Figueroa

12   and others. Plaintiff demonstrated a willingness to do whatever it took to avoid arrest. Not only

13   did he ignore verbal instructions to stop, but he also physically threw Officer Figueroa’s arm from

14   him in order to continue fleeing. [SOF ¶¶ 7-14] Critically, Plaintiff reached into his pocket, a

15   movement officers are trained to recognize as threatening, as Plaintiff could have been accessing

16   a weapon. [SOF ¶¶ 15-16] Officer Figueroa was alone in the alley with Plaintiff, without backup

17   from other officers. [SOF ¶ 6] Plaintiff’s willingness to run, fight off Officer Figueroa’s attempt

18   to restrain him, and his action of reaching into his pocket all demonstrated that Plaintiff was an

19   immediate threat to Officer Figueroa’s safety.

20          Additionally, Plaintiff was running towards an area populated with pedestrians and traffic.

21   [SOF ¶ 10] There is a grocery store and 99-cents store on either side of the road, and Plaintiff

22   was running towards Main Street, which has two-way traffic and a bus stop. [SOF ¶¶ 11-12]

23   Officer Figueroa reasonably suspected that Plaintiff could be under the influence of illegal drugs,

24   since Plaintiff was in a high drug use area and had just thrown a syringe on the ground. [SOF ¶

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1    4] Plaintiff fleeing here, especially if he was under the influence, presented a danger to the
2    pedestrians and drivers in the area.
3           For these reasons, Plaintiff was a threat to the safety of Officer Figueroa and others,
4    justifying the use of a taser. Kelly, 2017 WL 3582306 at *4 (determining that officers reasonably
5    concluded suspect was an immediate threat because suspect had an ‘agitated manner,’ refused to
6    follow verbal commands to sit down, and started yelling, flailing, and kicking).
7           C.     Plaintiff Attempted To Evade Arrest By Flight And Actively Resisted Arrest.
8           Plaintiff clearly tried to evade arrest by flight and resisted arrest. When Plaintiff spotted
9    Officer Figueroa, he tried to conceal his criminal activity by throwing the syringe on the ground.
10   [SOF ¶ 3] Plaintiff ignored instructions to stop, pushed past Officer Figueroa, threw Officer
11   Figueroa’s hand off his shirt, and ran. [SOF ¶¶ 7-14] Plaintiff admitted that he knew it was a
12   police vehicle that approached him [SOF ¶ 2], that Officer Figueroa instructed him to stop [SOF
13   ¶ 7], and that he knew Officer Figueroa was trying to stop him as he ran away. [SOF ¶¶ 7-9]
14   Nevertheless, Plaintiff admitted to continuing to run away from Officer Figueroa. [SOF ¶¶ 7-14]
15   Due to these actions, Plaintiff was charged with resisting arrest. [SOF ¶ 24]
16          For these reasons, the third Graham factor weighs in favor of Officer Figueroa. Chew v.
17   Gates, 27 F.3d 1432, 1442 (9th Cir. 1994) (fleeing from officers and offering physical resistance
18   to the arresting officers amounts to actively resisting arrest); Sheridan v. Trickey, 2010 WL
19   5812678 at *6-7 (D. Or. 2010) (holding that suspect made significant efforts to resist arrest by
20   being uncooperative, defying officer’s commands, struggling when officer attempted to arrest
21   him, and moving his arm in a threatening way).
22          With that said, each of the three Graham factors favor Officer Figueroa, his actions were
23   objectively reasonable, and Officer Figueroa is entitled to summary judgment.
24

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1    II.    Officer Figueroa Is Entitled To Qualified Immunity.
2           “Qualified immunity shields federal and state officials from money damages unless a
3    plaintiff pleads facts showing (1) that the official violated a statutory or constitutional right, and
4    (2) that the right was ‘clearly established’ at the time of the challenged conduct.” Ashcroft v. al-
5    Kidd, 131 S. Ct. 2074, 2080 (2011); Reichle v. Howards, 132 S. Ct. 2088, 2093 (2012) (“the agents
6    are entitled to qualified immunity . . . [i]f the answer to either question is ‘no’”).
7           To be “clearly established” for purposes of the qualified immunity analysis, a right must
8    be sufficiently clear “that every reasonable official would [have understood] that what he is doing
9    violates that right.” Reichle, 132 S. Ct. at 2093 (emphasis added and citation omitted). A right is
10   rarely clearly established “absent any published opinions on point or overwhelming obviousness
11   of illegality.” Sorrels v. McKee, 290 F.3d 965, 971 (9th Cir. 2002); Hunter v. Bryant, 502 U.S.
12   224, 228 229 (1991) (qualified immunity provides “ample room for mistaken judgments” by
13   protecting “all but the plainly incompetent or those who knowingly violate the law”; the inquiry
14   is not “whether another reasonable or more reasonable interpretation of events can be constructed
15   . . . after the fact”) (citation and internal quotations omitted).
16          As discussed in Section I, the use of force to apprehend a fleeing felon, like Plaintiff, was
17   objectively reasonable. Moreover, Officer Figueroa did not violate any “clearly established” law.
18   Specifically, there is no clearly established law preventing Officer Figueroa from pursuing
19   Plaintiff on foot, grabbing his shirt and arm, and utilizing a taser when Plaintiff ignored verbal
20   instructions, threw Officer Figueroa’s arm off him, and made a movement that Officer Figueroa
21   reasonably concluded could be used to access a weapon.
22          Rather, case law protects the actions of Officer Figueroa in this scenario. Sanders, 551
23   F.Supp.2d at 1172 (citing Russo v. Cincinnati, 953 F.2d 1036 (6th Cir. 1992) and Draper, 369
24   F.3d 1270 (11th Cir. 2004)) (finding that use of a taser was reasonable and the officer was entitled
25   to qualified immunity, the Court relied on prior case law: “Russo and Draper indicate that Taser



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1    use is a less lethal form of force and that use of the Taser may be appropriate to diffuse a situation
2    so as to prevent the need for escalation. Further, Russo and Draper involve situations in which
3    Tasers were applied when there was no struggle or physical resistance occurring,” and the courts
4    found the use of a taser in those circumstances reasonable. The Court concluded, given the
5    appearance and conduct of the parties involved, “a reasonable officer in [the officer’s] position
6    could reasonably believe that [his] conduct was consistent with Russo and Draper, and thus, the
7    Fourth Amendment”). Since Officer Figueroa did not violate a clearly established law and acted
8    consistent with case law, Officer Figueroa is entitled to qualified immunity.
9                                              Relief Requested
10          For the reasons stated herein, Officer Figueroa requests that the Court enter summary
11   judgment in his favor as to all claims.
12

13          Dated this 18th day of November, 2019.
14
                                                      /s/ Sarah M. Staudinger
15                                                   Sarah M. Staudinger
16                                                   Assistant City Attorney

17
                                      CERTIFICATE OF SERVICE
18
           I hereby certify that on November 18, 2019, I electronically transmitted the attached
19   document to the Clerk’s Office using the CM/ECF System for filing, and I served the attached
     document by U.S. Mail on the following, who is not a registered participant of the CM/ECF
20   System:

21   Shone Dieoute Gholston #143259
     ASPC Lewis - Barchey Unit - 4F10L
22   P.O. Box 3200
     Buckeye, AZ 85326
23   Pro Se Plaintiff

24   /s/ Mirna Poiani

25




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